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   7 Telephone: (559) 433-1300
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   8
     Attorneys for Defendant New York
   9 Marine and General Insurance Company
  10                            UNITED STATES DISTRICT COURT
  11             CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 Travelers Commercial Insurance                        Case No. 2:21-cv-5832-GW (PDx)
     Company, a Connecticut Corporation,
  14                                                       NEW YORK MARINE AND
                  Plaintiff,                               GENERAL INSURANCE
  15                                                       COMPANY’S NOTICE OF
           v.                                              MOTION AND MOTION TO
  16                                                       DISQUALIFY MAYNARD
     New York Marine and General                           COOPER & GALE, LLP
  17 Insurance Company, a Delaware
     Corporation,                                          Date:              May 11, 2023
  18                                                       Time:              8:30 a.m.
                  Defendant.                               Judge:             Hon. George H. Wu
  19                                                       Courtroom:         9D
  20 New York Marine and General
     Insurance Company, a Delaware
  21 corporation
  22                Counter-Claimant
  23        v.
  24 Travelers Commercial Insurance
     Company, a Connecticut corporation,
  25
     Counter-Defendant
  26
  27
  28

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   1         TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
   2         PLEASE TAKE NOTICE that on May 11, 2023 at 8:30 a.m., or as soon
   3 thereafter as this matter may be heard in Courtroom 9D of the above-entitled Court,
   4 located at 350 W. 1st Street, Los Angeles, California 90012, Defendant and
   5 Counterclaimant New York Marine and General Insurance Company (“NY Marine”)
   6 will and hereby does move the Court to disqualify Counsel of Record for Plaintiff and
   7 Counterdefendant Travelers Commercial Insurance Company (“Travelers”),
   8 Maynard Cooper & Gale, LLP and Nicholas J. Boos (“Maynard Cooper”) from
   9 representing Travelers in this action due to a direct and irreconcilable ethical conflict.
  10         Specifically, NY Marine’s motion is made on the basis that Maynard Cooper
  11 employs in its San Francisco office, under the direct supervision of Mr. Boos, who is
  12 identified as substituting counsel on the Request for Approval of Substitution of
  13 Attorney Or Withdrawal of Attorney filed on February 28, 2023, Associate attorney
  14 Matthew A. Chipman, who was previously employed by the undersigned law firm,
  15 McCormick, Barstow, Sheppard, Wayte & Carruth, LLP (“McCormick Barstow”),
  16 and that Mr. Chipman, while employed by McCormick Barstow, represented NY
  17 Marine in connection with the dispute out of which this litigation arises and received
  18 its confidential information concerning both the dispute out of which this litigation
  19 arises and concerning this litigation specifically. As such, NY Marine moves to
  20 disqualify Maynard Cooper under the well-established California law which holds
  21 that when a “tainted attorney was actually involved in the representation of the first
  22 client, and switches sides in the same case, no amount of screening will be sufficient,
  23 and the presumption of imputed knowledge is conclusive” thereby requiring the
  24 disqualification of the tainted firm. Kirk v. First Am. Title Ins. Co., 183 Cal.App.4th
  25 776, 814 (2010) (citing Henriksen v. Great Am. Savings & Loan, 11 Cal.App.4th 109,
  26 115, 117 (1992) and Meza v. H. Muehlstein & Co., Inc., 176 Cal.App.4th 969, 979
  27 (2000)).
  28         NY Marine’s motion is also made on the basis that the undersigned counsel

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   1 have represented NY Marine in connection with this throughout Mr. Chipman’s
   2 employment by McCormick Barstow. Consequently, under California law, even if he
   3 had not represented NY Marine in this specific matter or actually received its
   4 confidential information, knowledge of NY Marine’s confidential information
   5 concerning this matter is imputed to Mr. Chipman, and in turn, to Maynard Cooper,
   6 requiring its disqualification regardless of its efforts to erect an “ethical screen”
   7 between Mr. Chipman and the Maynard Cooper attorneys actually representing
   8 Travelers in this matter.
   9         NY Marine’s motion is also made on the further ground that even if an “ethical
  10 screen” could suffice to cure the conflict or avoid Maynard Cooper’s disqualification,
  11 here Maynard Cooper’s own statements in its March 9, 2023 “meet and confer”
  12 correspondence confirm that no ethical screen was put in place until after NY Marine
  13 raised the issue of the Associate’s conflict with Mr. Boos on March 2, 2023. As such,
  14 even if Mr. Chipman had not actually represented NY Marine in this same matter nor
  15 had actual possession of NY Marine’s confidential information concerning this
  16 matter, because Maynard Cooper did not implement an “ethical screen” “before
  17 undertaking the [] representation” of Travelers in this action, its “ethical screen” was
  18 not timely implemented and consequently does not serve to excuse the conflict or
  19 avoid Maynard Cooper’s disqualification.
  20         This Motion is based on this Notice of Motion and Motion, the accompanying
  21 Memorandum of Points and Authorities, the Request for Judicial Notice together with
  22 exhibits attached thereto, and the Declarations of James P. Wagoner, Nicholas H.
  23 Rasmussen, Graham A. Van Leuven, Lejf E. Knutson, Ellen Fine, and all papers and
  24 pleadings of record on file in this case, and such additional authority and argument as
  25 may be presented at or before the time this Motion is heard or submitted.
  26         This Motion is made following the conference of counsel pursuant to L.R. 7-3,
  27 which took place via written correspondence on March 2, 2023, March 9, 2023, March
  28 23, 2023, and via telephone on March 31, 2023.

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   1 Dated: April 10, 2023                            McCORMICK, BARSTOW, SHEPPARD,
                                                          WAYTE & CARRUTH LLP
   2
   3
                                                    By:           /s/ James P. Wagoner
   4
                                                                 James P. Wagoner
   5                                                               Lejf E. Knutson
                                                              Nicholas H. Rasmussen
   6
                                                              Graham A. Van Leuven
   7                                               Attorneys for Defendant New York Marine and
                                                            General Insurance Company
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   1                                     PROOF OF SERVICE
   2   Travelers Commercial Insurance Company v. New York Marine and General
                                 Insurance Company
   3
       STATE OF CALIFORNIA, COUNTY OF FRESNO
   4
           At the time of service, I was over 18 years of age and not a party to this action.
   5 I am employed in the County of Fresno, State of California. My business address is
     7647 North Fresno Street, Fresno, CA 93720.
   6
           On April 10, 2023, I served true copies of the following document(s) described
   7 as NEW YORK MARINE AND GENERAL INSURANCE COMPANY’S
     NOTICE OF MOTION AND MOTION TO DISQUALIFY MAYNARD
   8 COOPER & GALE, LLP on the interested parties in this action as follows:
   9 Nicholas J. Boos                           Kirk Pasich
     Maynard Cooper & Gale                      Kayla Robinson
  10 Two Embarcadero Center, Suite 1450         Pasich LLP
     San Francisco, CA 94111                    10880 Wilshire Blvd., Suite 2000
  11 Telephone: (415) 646-4674                  Los Angeles, CA 90024
     Email: nboos@maynardcooper.com             Telephone: (424) 313-7860
  12                                            Email: kpasich@pasichllp.com
     Attorneys for Plaintiff Travelers krobinson@pasichllp.com
  13 Commercial Insurance Company
                                                Attorneys for Non-Party Amber Heard
  14
            BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
  15 the document(s) with the Clerk of the Court by using the CM/ECF system.
     Participants in the case who are registered CM/ECF users will be served by the
  16 CM/ECF system. Participants in the case who are not registered CM/ECF users will
     be served by mail or by other means permitted by the court rules.
  17
            I declare under penalty of perjury under the laws of the United States of
  18 America that the foregoing is true and correct and that I am employed in the office of
     a member of the bar of this Court at whose direction the service was made.
  19
            Executed on April 10, 2023, at Fresno, California.
  20
  21
  22                                                     Heather Ward
  23
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                 NY Marine’s Notice of Motion and Motion to Disqualify Maynard Cooper & Gale, LLP
